                                                                 Case 2:19-bk-23085-BB          Doc 241 Filed 01/20/23 Entered 01/20/23 16:52:32            Desc
                                                                                                 Main Document     Page 1 of 7


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                                                                  3    GREENBERG GLUSKER FIELDS CLAMAN
                                                                       & MACHTINGER LLP
                                                                  4    2049 Century Park East, Ste. 2600
                                                                       Los Angeles, California 90067
                                                                  5    Telephone: 310.553.3610
                                                                       Fax: 310.553.0687
                                                                  6
                                                                       Attorneys for Jason M. Rund,
                                                                  7    Chapter 7 Trustee
                                                                  8
                                                                                                   UNITED STATES BANKRUPTCY COURT
                                                                  9
                                                                                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                 10
                                                                                                             LOS ANGELES DIVISION
GREENBERG GLUSKER FIELDS CLAMAN




                                                                 11
                                                                 12
                             2049 Century Park East, Ste. 2600
                              Los Angeles, California 90067




                                                                       In re:                                           Case No. 2:19-bk-23085-BB
       & MACHTINGER LLP




                                                                 13
                                                                       YOUTH POLICY INSTITUTE, INC.,                    Chapter 7
                                                                 14
                                                                                              Debtor.                   NOTICE OF CHAPTER 7 TRUSTEE’S
                                                                 15                                                     MOTION UNDER FED. R. BANKR. P. 9019
                                                                                                                        FOR ORDER APPROVING
                                                                 16                                                     COMPROMISE WITH DIXON
                                                                                                                        SLINGERLAND, STEVEN SCHULTZ,
                                                                 17                                                     SUZANNE STEINKE, SUZANNE M.
                                                                                                                        STEINKE A PROFESSIONAL
                                                                 18                                                     CORPORATION, HILL MORGAN AND
                                                                                                                        ASSOCIATES, LLP, RSUI INDEMNITY
                                                                 19                                                     COMPANY AND HANOVER INSURANCE
                                                                                                                        COMPANY
                                                                 20
                                                                                                                        [NO HEARING REQUIRED; LBR 9013-1(o)]
                                                                 21
                                                                 22
                                                                 23
                                                                 24             TO THE HONORABLE SHERI BLUEBOND, UNITED STATES BANKRUPTCY

                                                                 25   JUDGE, THE UNITED STATES TRUSTEE, THE DEBTOR AND ALL PARTIES-IN-

                                                                 26   INTEREST HEREIN:

                                                                 27             PLEASE TAKE NOTICE that Jason M. Rund, Chapter 7 Trustee (the “Trustee”) of the

                                                                 28   bankruptcy estate of Debtor Youth Policy Institute, Inc. (the “Debtor”) has filed his Chapter 7

                                                                                                                                                 NOTICE OF MOTION TO
                                                                                                                                                APPROVE COMPROMISE


                                                                      76214-00002/4603291.2
                                                                 Case 2:19-bk-23085-BB        Doc 241 Filed 01/20/23 Entered 01/20/23 16:52:32                  Desc
                                                                                               Main Document     Page 2 of 7


                                                                  1   Trustee’s Motion Under Fed. R. Bankr. P. 9019 for Order Approving Compromise with Dixon
                                                                  2   Slingerland, Steven Schultz, Suzanne Steinke, Suzanne M. Steinke a Professional Corporation,
                                                                  3   Hill Morgan and Associates, LLP, RSUI Indemnity Company and Hanover Insurance Company
                                                                  4   [Docket No. 240] (the “Motion”) pursuant to which the Trustee seeks entry of an order approving
                                                                  5   the Trustee’s proposed compromise with Dixon Slingerland (“Slingerland”), Steven Schultz
                                                                  6   (“Schultz”), Suzanne M. Steinke (“Steinke”), Suzanne M. Steinke a Professional Corporation
                                                                  7   (“Steinke APC”), Hill Morgan and Associates LLP (“Hill Morgan”, collectively with Slingerland,
                                                                  8   Schultz, Steinke, Steinke APC, “Defendants”), RSUI Indemnity Company (“RSUI”) and Hanover
                                                                  9   Insurance Company (“Hanover”, together with RSUI, “Insurers”) and approving the Settlement
                                                                 10   Agreement (the “Settlement Agreement”) by and among the Trustee, on behalf of the bankruptcy
GREENBERG GLUSKER FIELDS CLAMAN




                                                                 11   estate, and Defendants/Insurers memorializing such proposed compromise, a copy of which is
                                                                 12   attached as Exhibit 1 to the Declaration of Jason M. Rund (the “Rund Declaration”)
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                              Los Angeles, California 90067
       & MACHTINGER LLP




                                                                 13   accompanying the Motion.
                                                                 14            As further set forth in the Motion, the Trustee filed a complaint (the “Complaint”) against
                                                                 15   Defendants, commencing Adversary No. 2:21-ap-01221-BB (the “Adversary Proceeding”). The
                                                                 16   claims asserted in the Complaint can generally be classified into four categories: (1) the claims
                                                                 17   against Slingerland and Schultz for negligence, breach of fiduciary duty and breach of charitable
                                                                 18   trust (First, Third and Fourth Claims for Relief) which led to the collapse of YPI (the
                                                                 19   “Negligence/Breach of Fiduciary Duty Claims”); (2) the claims against Slingerland for Unjust
                                                                 20   Enrichment, Fraud, Conversion, Receiving Embezzled Funds, and Unfair Competition (the
                                                                 21   Second, Fifth, Sixth, Seventh and Eighth Claims for Relief) relating to the approximately $1.9
                                                                 22   million in alleged unauthorized and/or excessive expenditures caused by; (3) the claims against
                                                                 23   Steinke and Steinke APC Unjust Enrichment and Receiving Embezzled Funds (the Ninth and
                                                                 24   Tenth Claims for Relief); and (4) the professional negligence claims (Eleventh Claim for Relief)
                                                                 25   against Hill Morgan.
                                                                 26            Since the commencement of the Adversary Proceeding, the Trustee, Defendants and
                                                                 27   Insurers have engaged in extensive good faith negotiations regarding the claims asserted in the
                                                                 28   Complaint and the insurance coverage applicable to the Negligence/Breach of Fiduciary Duty
                                                                                                                                                   NOTICE OF MOTION TO
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                                                                      76214-00002/4603291.2
                                                                 Case 2:19-bk-23085-BB        Doc 241 Filed 01/20/23 Entered 01/20/23 16:52:32              Desc
                                                                                               Main Document     Page 3 of 7


                                                                  1   Claims. The extensive good faith negotiations between the Trustee and Defendants/Insurers were
                                                                  2   fruitful. The Trustee, Defendants and Insurers have agreed to the proposed compromise
                                                                  3   memorialized in the Settlement Agreement without the need for further litigation. As detailed in
                                                                  4   the Settlement Agreement, the proposed compromise will result in an aggregate settlement
                                                                  5   payment to the bankruptcy estate of $4,886,796 (the “Settlement Payment”), funded as follows:
                                                                  6   (a) $2,761,796.00 from RSUI, representing the remaining policy limit under that certain Non-
                                                                  7   Profit Organization Management Liability Policy, policy no. xx9767; (b) $2,000,000 from
                                                                  8   Hanover, representing the full policy limit under that certain Hanover Excess Advantage, policy
                                                                  9   no. xx1903; and (c) $125,000 from Slingerland.
                                                                 10            The Trustee believes that the proposed compromise with Defendants/Insurers
GREENBERG GLUSKER FIELDS CLAMAN




                                                                 11   memorialized in the Settlement Agreement is in the best interests of the bankruptcy estate under
                                                                 12   the circumstances, is well within the Trustee’s business judgment, and should be approved
                             2049 Century Park East, Ste. 2600
                              Los Angeles, California 90067
       & MACHTINGER LLP




                                                                 13            PLEASE TAKE FURTHER NOTICE that the Motion is based upon this Notice, the
                                                                 14   Rund Declaration, the record in this case and all other matters of which this Court may take
                                                                 15   judicial notice pursuant to Rule 201 of the Federal Rules of Evidence, and such further oral and
                                                                 16   documentary evidence as may be presented at any hearing on this Motion.
                                                                 17            PLEASE TAKE FURTHER NOTICE that a copy of the Motion can be obtained for a
                                                                 18   fee by accessing PACER through the Court’s website at www.cacb.uscourts.gov or free of charge
                                                                 19   by contacting the Trustee’s counsel at:
                                                                 20                           Keith Patrick Banner, Esq.
                                                                                              GREENBERG GLUSKER FIELDS CLAMAN
                                                                 21                           & MACHTINGER LLP
                                                                                              2049 Century Park East, Ste. 2600
                                                                 22                           Los Angeles, California 90067-4590
                                                                                              Telephone: 310.553.3610
                                                                 23                           Facsimile: 310.553.0687
                                                                                              Email: kbanner@GreenbergGlusker.com
                                                                 24
                                                                 25            PLEASE TAKE FURTHER NOTICE that pursuant to the Court’s Order Granting
                                                                 26   Motion for Order Limiting Scope of Notice [Docket No. 32] (the “Order Limiting Notice”), the
                                                                 27   Motion constitutes a Limit Notice Matter and therefore the Trustee will serve the Motion and this
                                                                 28
                                                                                                                                                 NOTICE OF MOTION TO
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                                                                      76214-00002/4603291.2
                                                                 Case 2:19-bk-23085-BB        Doc 241 Filed 01/20/23 Entered 01/20/23 16:52:32                 Desc
                                                                                               Main Document     Page 4 of 7


                                                                  1   Notice on the Limited Service List, counsel for Defendants, counsel for the Insurers and all
                                                                  2   parties to the Padilla Action (as defined in the Motion).
                                                                  3            PLEASE TAKE FURTHER NOTICE that in accordance with Local Bankruptcy Rule
                                                                  4   9013-1(o)(1), any response to the Motion and request for hearing must be in the form required by
                                                                  5   Local Bankruptcy Rule 9013-1(f)(1) and must be filed with the Court and served on: (i) the
                                                                  6   Trustee at 270 Coral Circle, El Segundo, California 90245; (ii) his general bankruptcy counsel,
                                                                  7   Greenberg Glusker Fields Claman & Machtinger LLP, Attn: Keith Patrick Banner, Esq., 2049
                                                                  8   Century Park East, Ste. 2600, Los Angeles, California 90067; and (iii) the Office of the United
                                                                  9   States Trustee, located at 915 Wilshire Blvd., Suite 1850, Los Angeles, California 90017, within
                                                                 10   seventeen (17) days from the date of service of this Notice.
GREENBERG GLUSKER FIELDS CLAMAN




                                                                 11            If you fail to file a written response within seventeen (17) days from the date of the
                                                                 12   service of this Notice, the Bankruptcy Court may treat such failure as a waiver of your right to
                             2049 Century Park East, Ste. 2600
                              Los Angeles, California 90067
       & MACHTINGER LLP




                                                                 13   oppose the Motion and may grant the requested relief.
                                                                 14
                                                                       DATED: January 20, 2023                            GREENBERG GLUSKER FIELDS CLAMAN
                                                                 15                                                       & MACHTINGER LLP
                                                                 16
                                                                 17                                                       By: /s/ Keith Patrick Banner
                                                                                                                             JEFFREY A. KRIEGER
                                                                 18                                                          KEITH PATRICK BANNER
                                                                                                                             Attorneys for Jason M. Rund,
                                                                 19                                                          Chapter 7 Trustee
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63 ÿ        Via Email
             Counsel to Hanover                                                                           Lyne A. Richardson, Esq.-
             David Brown-DBrown@kdvlaw.com                                                                Lyne.Richardson@OgleTree.com
             Counsel to RSUI                                                                              Brittany L. Turner, Esq.
                                                                                                          Brittany.Turner@Ogletree.com
ÿ            David Tartaglio, Esq.-David.Tartaglio@MusickPeeler.com

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                             Main Document     Page 6 of 7


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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      Brian L Davidoff bdavidoff@greenbergglusker.com,
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      Steven Goldsobel steve@sgoldsobel.com, vandad@sgoldsobel.com
      EmmaElizabeth A Gonzalez egonzalez@publiccounsel.org
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      Jeffrey A Krieger jkrieger@ggfirm.com,
       kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenbergglusker.co
       m
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      Kevin Meek kmeek@robinskaplan.com, kevinmeek32@gmail.com;kmeek@ecf.inforuptcy.com
      Hayes F Michel hmichel@krakowskymichel.com
      Christopher E Prince cprince@lesnickprince.com,
       jmack@lesnickprince.com;cprince@ecf.courtdrive.com;jnavarro@lesnickprince.com
      Jason M Rund (TR) trustee@srlawyers.com, jrund@ecf.axosfs.com
      Daniel C Sharpe , daniel.c.sharpe@me.com
      Summer M Shaw ss@shaw.law,
       shawsr70161@notify.bestcase.com;shawsr91811@notify.bestcase.com
      Matthew N Sirolly msirolly@dir.ca.gov
      United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
      Andy C Warshaw awarshaw@bwlawcenter.com,
       Warshaw.AndyB110606@notify.bestcase.com
      Genevieve G Weiner gweiner@sidley.com, laefilingnotice@sidley.com;genevieve-weiner-
       0813@ecf.pacerpro.com

2. SERVED BY UNITED STATES MAIL:

Limited Service List

Ford Motor Credit

 FORD MOTOR CREDIT             Ford Motor Credit              Ford Motor Credit
 PO Box 537901                 P.O. Box 650574                1501 North Plano Road Ste.
 Livonia, Ml 48153             Dallas, TX 75265-0574          100.
                                                              Richardson, TX 75081
 Ford Motor Credit
 260 Interstate N PKWY NW
 Atlanta, GA 30339


Secured Creditors

 Think Together                Jules and Associates           Non-Profit Finance Fund
 2101 E 4th St Ste. 200B       2 Great Valley Parkway,        5 Hanover Square,
 Santa Ana, CA 92705           Suite 300                      9th Floor
 Attn: Teresa A. McQueen,      Malvern, PA 19355              New York, NY 10004
 General Counsel
Case 2:19-bk-23085-BB            Doc 241 Filed 01/20/23 Entered 01/20/23 16:52:32                  Desc
                                  Main Document     Page 7 of 7


Unsecured Creditors

 American Express                      Bright Star Schools             C3 Business Solutions
 World Financial Center                2636 South Mansfield Avenue     20321 SW Acacia St., Ste. 200
 New York, NY 10285                    Los Angeles, CA 90016           Newport Beach, CA 92660
 California Department of              Department of Education (Los    Employed Security Service
 Education                             Angeles Prom)                   Center
 21st 1430 N Street                    400 Maryland Avenue, SW         Inc.
 Sacramento, CA 95814-5901             Washington, DC 20202            959 E., Walnut Street
                                                                       Suite 112
                                                                       Pasadena, CA 91106

 Fresh Start Meals Inc                 Granada Hills Charter High      JFK Transportation Company
 1530 1st Street                       School                          Inc.
 San Fernando, CA 91340                10535 Zelzah Avenue             980 W. 17th Street
                                       Granada Hills, CA 91344         Suite B
                                                                       Santa Ana, CA 92706

 Multicultural Learning Center         NIU College                     Oracle America, Inc.
 7510 Desoto Avenue                    5959 Topanga Canyon Blvd.       P.O. Box 44471
 Canoga Park, , CA 91303               Suite 110                       San Francisco, CA 94144
                                       Woodland Hills, CA 91367

 Orenda Education (Principal's         Roth Staffing Companies, L.P.   Sabio Enterprises, Inc.
 Exchange)                             P.O. Box 60003                  400 Corporate Pointe, Suite 300
 2101 E. Fourth Street                 Anaheim, CA 92812               Culver City, CA 90230
 Suite 200B
 Santa Ana, CA 92705

 Spectrum                              Staples Contract & Commercial   Staples Technology
 9260 Topanga Canyon Blvd.             Inc.                            P.O. Box 95230
 Chatsworth, CA 91311                  Dept. La                        Chicago, IL 60694
                                       P.O. Box 83689
                                       Chicago, IL 60696

 Stem & More LLC                       Ultimate Software (Payroll
 7618 Jellico Avenue                   Services)
 Northridge, CA 91325                  P.O. Box 930953
                                       Atlanta, GA 91193


Additional Parties not on the limited service list

 Laura Padilla                         Enrique Rodriguez
 1160 S. Fickett St.                   c/o Lyne A. Richardson, Esq.
 Los Angeles, CA 90023                 Ogletree Deakins
                                       19191 S. Vermont Avenue
                                       Torrance, CA 90502
